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                                                                         United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                               August 17, 2021
                     UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
KENNETH W. BENJAMIN,                     §
                                         §
       Plaintiff.                        §
                                         §
VS.                                      § CIVIL ACTION NO. 4:20-CV-00214
                                         §
THE BANK OF NEW YORK                     §
MELLON, et al.,                          §
                                         §
       Defendants.                       §
                                      ORDER
       In his most recent Application for Hearing Under L.R. 7.8, Plaintiff raises
two issues. See Dkt. 134.
       First, Plaintiff asks if certain Flagstar Bank material will be admissible
evidence. I will not jump into that fire pit at this time. Decisions on what will or
will not be admitted into evidence at trial will be made at trial, not now.
       Second, Plaintiff asks if I will award sanctions against Defendant for
allegedly preventing him from conducting a deposition of Defendant’s corporate
representative. The answer is no. I have carefully reviewed the email exchange
between defense counsel and Plaintiff, and do not believe defense counsel has
done anything improper. On August 11, 2021, Plaintiff provided Defendant, for
the first time, a proposed list of deposition topics. Plaintiff then demanded a
corporate representative be presented within two days, by August 13, 2021. That
is unreasonable. To his credit, defense counsel explained to Plaintiff that he could
not identify the proper corporate representative, prepare the witness, and make
him (or her) available on two-day’s notice. Defense counsel did, however,
generously agree to extend the discovery deadline (which expired on August 13,
2021) if Plaintiff wanted to take the requested deposition at a mutually
convenient time outside the discovery period. Plaintiff said no to that offer and
must now face the consequences.
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 Signed this 17th day of August 2021.



                                ______________________________
                                        ANDREW M. EDISON
                                 UNITED STATES MAGISTRATE JUDGE




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